United States District Court
Northern District of California

UNITED STATES DISTRICT COURT ~
NORTHERN DISTRICT OF CALIFORNIA

IN RE: PACIFIC FERTILITY CENTER

LITIGATION Case No. 18-cv-01586-JSC

VERDICT FORM

We the jury answer the questions submitted to us as follows:

I. CHART’S AFFIRMATIVE DEFENSE: MISUSE OR MODIFICATION
1. Was the Product misused or modified after it left Chart’s possession?

Yes “No

Ifyou answered yes to question 1, then answer question 2. If you answered no, skip
question 2 and go to question 3.

2. Was the misuse or modification so highly extraordinary that it was not reasonably
foreseeable to Chart and therefore was the sole cause of Plaintiffs’ harm?

es

Yes No

If you answered no to question 2, then answer question 3. If you answered yes, stop
here, answer no further questions, and have the presiding juror sign and date this
form on the last page.

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II]. CLAIM 1: MANUFACTURING DEFECT
3. Did Tank 4 contain a manufacturing defect when it left Chart’s possession?
X Yes No

If your answer to question 3 is yes, answer question 4. If you answered no, do-not answer
question 4 and go to question 5. .

~ 4. Was the manufacturing defect a substantial factor in causing harm to Plaintiffs?

Rosalynn Enfield: 77 Yes No

Laura Parsell: — ~~ Yes No

Kevin Parsell: 7 Yes No
Chloe Poynton: “ Yes No
Adrienne Sletten: ~" Yes No

Proceed to question 5.
Ill. DESIGN DEFECT
CLAIM 2: CONSUMER EXPECTATIONS TEST

5. Did Tank 4 fail to perform as safely as an ordinary user of cryogenic storage tanks
would have expected when used or misused in an intended or reasonably foreseeable
way?

a Yes No

Regardless of your answer to question 5, proceed to question 6.

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CLAIM 3: RISK BENEFIT TEST

6. Did the benefits of the tank’s design outweigh the risks of the design?

Yes -“No

e Ifyou answered yes to question 5 or no to question 6, answer question 7.
e Ifyou answered no to question 5 and yes question 6, skip question 7 and proceed to
question 8.

7. Was the tank’s design a substantial factor in causing harm to plaintiffs?

Rosalynn Enfield: —_ Yes No

’ Laura Parsell: ~ Yes No
Kevin Parsell: “Yes No
Chloe Poynton: “ Yes No

Adrienne Sletten: “Yes No

Proceed to question 8.

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IV. CLAIM 4: NEGLIGENT FAILURE TO RECALL OR RETROFIT

8. Did Chart know or should it reasonably have known that Tank 4’s controller was

dangerous or was likely to be dangerous when used in a.reasonably foreseeable manner?

/ Yes No

If your answer to question 8 is yes, then answer question 9. If you answered no, do not
answer questions 9 - 12 and go to question 13.

9. Did Chart become aware of this defect after the tank was sold?

“Yes No

If your answer to question 9 is yes, then answer question 10. If you answered no, do not
answer questions 10 - 12 and go to question 13.

10. Did Chart fail to recall or retrofit the tank’s controller?

res No

If your answer to question 10 is yes, then answer question 11. If you answered no, do
not answer questions 11 - 12 and go to question 13.

11. Would a reasonable manufacturer under the same or similar circumstances have

recalled or retrofitted the tank’s controller?

Yes No
Jf your answer to question 11 is yes, then answer question 12. Ifyou answered no,

do not answer question 12 and go to question 13.

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12. Was Chart’s failure to recall or retrofit the tank’s controller a substantial factor in

causing harm to plaintiffs?

Rosalynn Enfield: ~_Yes No
Laura Parsell: “_Yes_-__No
Kevin Parsell: 7. Yes No
Chloe Poynton: 7_Yes No
Adrienne Sletten: 7“ Yes No

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V. COMPENSATORY DAMAGES

e if you answered yes to any of questions 4, 7, or 12 (as to at least one
plaintiff), answer question 13 as to each plaintiff for whom you answered
yes in questions 4, 7, or 12.

e Ifyou answered no to or skipped questions 4, 7, and 12 as to every plaintiff,

stop here, answer no further questions, and have the presiding juror sign
and date this form on the last page. ,

13. What are each plaintiff's damages?

Rosalynn Enfield:

Economic loss

Value of damaged/lost eggs: $ £20, Ged
Noneconomic loss

Pain, suffering, and emotional distress:$ 2, Soe gow
a

Rosalynn Enfield TOTAL$_ 2600, gow

Laura & Kevin Parsell:
Economic loss

Value of damaged/lost embryos:$ 200 cv
a

Noneconomic loss

Laura Parsell pain, suffering, and emotional distress: $ 3, S~

Kevin Parsell pain, suffering, and emotional distress: $ 3,

Laura & Kevin Parsell TOTAL $_7, 2 ve, CO’

Chloe Poynton:
Economic loss

Value of damaged/lost eggs:$ 4259 oe
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Noneconomic loss

Pain, suffering, and emotional distress: $ 3 G26 OG 0

Chloe Poynton TOTAL $ 4, L0G, 20d

Adrienne Sletten:

Economic loss

Value of damaged/lost eggs: $ _ 2 $7 220)
Noneconomic loss

32000 d00°

Pain, suffering, and emotional distress: $

Adrienne Sletten TOTAL $ Ag? Fd02

Proceed question 14.

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VI. APPORTIONMENT OF FAULT

14. Was Pacific Fertility Center negligent with respect to Tank 47

Yes No

If your answer to question 14 is yes, then answer question 15. If you answered no,
insert the number zero next to Pacifi ic Fertility Center in question 16. ,

15. Was Pacific Fertility Center’s negligence a substantial factor in causing harm to the

plaintiffs?

Yes No

If your answer to question 15 is yes, then answer question 16. If you answered no,
insert the number zero next to Pacific Fertility Center in question 16.

16. What percentage of responsibility for the plaintiffs’ harm do you assign to:

Chart: 9 Oo %

Pacific Fertility Center: 1/2 _%
TOTAL 100 %

Proceed to the next question.

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Signed: __ Ao Presiding Juror

Dated: Tye 20, 20 2 “

After this verdict form has been signed, notify the clerk that you are ready to present your verdict

in the courtroom.

